            Case 6:21-cv-01111-ADA Document 23 Filed 06/14/22 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §               Case No: 6:21-cv-01111-ADA
                                      §
vs.                                   §               PATENT CASE
                                      §
VOLVO CAR USA, LLC,                   §
                                      §
      Defendant.                      §
_____________________________________ §

                           JOINT STIPULATION OF DISMISSAL

       Plaintiff Display Technologies, LLC and Volvo Car USA, LLC. by their respective

undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.       All claims asserted by the Plaintiff and Defendant in this Action are dismissed with

prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.       Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




JOINT STIPULATION OF DISMISSAL                                                      Page | 1
         Case 6:21-cv-01111-ADA Document 23 Filed 06/14/22 Page 2 of 4




Dated: June 14, 2022.

Respectfully submitted,

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JOINT STIPULATION OF DISMISSAL                                      Page | 2
         Case 6:21-cv-01111-ADA Document 23 Filed 06/14/22 Page 3 of 4




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
June 14, 2022, and was served via CM/ECF on all counsel who are deemed to have consented to
electronic service.

                                            /s/Jay Johnson
                                            JAY JOHNSON




JOINT STIPULATION OF DISMISSAL                                                   Page | 3
        Case 6:21-cv-01111-ADA Document 23 Filed 06/14/22 Page 4 of 4




SO ORDERED, this ____ day of June ___ 2022.

                                 BY THE COURT:




                                 HONORABLE UNITED STATES
                                 DISTRICT/MAGISTRATE JUDGE




JOINT STIPULATION OF DISMISSAL                                  Page | 4
